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UNITED STATES BANKRUPTCY COURT
DISTRICT OF CONNECTICUT
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      2025-50005
      News Direct Corp.



      Case Type :                    bk
      Case Number :                  2025-50005
      Case Title :                   News Direct Corp.

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